 

12/16/2611 0 4854-7 1-AG1678885ELH Document 32-15 Filed 12/28/11 Page1ofi1 PA 99/88

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

Roget Terry #341358

v. , Case No.: ELH-11-1686

DPSCS, et al,

DECLARATION

1, Michael Middleton, do herchy declare under the penalty of perjury the following is truc and correct to the
best of my knowledge and belief:

1.

2.

Tam competent to testify to the following facts on the basis of my personal knowledge.

Tam a Correctional Officer Sergeant at the Westem Correctional Institution (WC), employed by the
Maryland Division of Correction (DOC) in Cumberland, Matyland. T have been employed by the
DOC for approximately 14 years.

Cam familiar with the casc involving Mr. Terry. I confiscated a suspected quantity of a controlled
dangerous substance (CDS) from Mr. Terry on July 29, 2008. It was known at that time inmates
were attempting to pass CDS concealed in coffee grinds at WCI, but coffee grinds would have no .
effects on the outcome of the NIK test results. I confiscated a black tar like substance from Mr.

Terry that was wrapped in saran wrap and weighted apptoximately 7,43 grams. I took the suspected *
CDS to Officer P. Shields, who was certified to perform NIK testing at WCIL The substance tested
positive for amphetamines. The substance was then placed in the contraband locker and ITU was
contacted for follow-up State Police Testing by supervision. I wrote Mr. Terry an institutional
adjustment for violating rules #112 and #114, which are possession of CDS and possession of CDS
in sufficient quantity to reasonable suggest distribution.

J have read the above statements and hereby declare with the penalty of perjury that the foregoing is true and

correct,

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Name; Michael Middleton Date
Title: Correctional Officer Sergeant

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